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Western Dlstrlct of Tennessee WMAS M GOULD

U.S.A. vs. .I ames Frank Semora Docket No. dwme wm
WID Ql-“ l-?'~§_ ?\."§l:lklprlls

Petition for Action on Conditions of Pretrial Release C)§’/ 2 0 O O(i ,__. 6

COMES NOW PRETRIAL SERVICES OFFICER Loretta Fleming presenting an official report upon the conduct
of defendant who was placed under pretrial release supervision by the Honorable Diane K. Vescovo sitting in the
court at Memphis, TN, on the 3rd day of March, 2005 under the following conditions:

l. Report to Pretrial Services as directed

2. Maintain or actively seek employment

3. Travel restricted to the Western District of Tennessee

4. Refrain from possessing a firearrn, destructive device, or other dangerous weapon

5. Refrain from use or unlawful possession of a narcotic drug or other controlled substance

6. Submit to any method of testing required by the Pretrial Services office

7. Participate in a program of inpatient or outpatient substance abuse testing, if deemed advisable by
Pretrial Services

8. Contact Dennis Bronson of DEA by telephone every Monday, Wednesday, and Friday

RESPECTFULLY PRE.SE.NTING PETITION FOR ACTION OF COURT AND F"OR CAUSE .AS FOLLOWS:

l) Report to Pretrial Services as directed

James Semora was directed to report to Pretrial Services every ls‘ and 3rd Tuesday of each month between 1100 p.m.
and 3:00 p.m. He last reported to Pretrial Services on May 3, 2005, and failed to report on May 17"‘, June 7"‘, and
june 21*', 2005. Mr. Semora contacted Pretrial Services via telephone on June 22, 2005, and indicated that he was
leaving Eerie, Pennsylvania. At that time, he was directed to report to Pretrial Services on June 23, 2005, but failed
to do so. On May 20, 2005, Kim Bucey, the defendant’s girlfriend, advised Pretrial Services that Mr. Semora no
longer resides at 648 Deen Road in Brighton, Tennessee. Mr. Semora’s whereabouts are unknown to date.

2) Travel restricted to the Westem District of Tennessee

Mr. Semora contacted Pretrial Services via telephone on June 22, 2005, and reported that he was leaving Eerie,
Pennsylvania, en route to Memphis, Tennessee. The defendant failed to request the Court’s permission to travel
outside of the Western District of Tennessee.

PRAYING THAT TI-IE COURT WILL ORDER THE ISSUANCE OF A WARRANT FOR TI-[E DEFENDANT TO
APPEAR AND TO SHOW CAUSE AS TO WHY HIS BOND SHOULD NOT BE REVOKED.

ORDER OF COURT , l declare under penalty of perjury that the
‘ C{L foreg ` g is t ue and correct.

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._ U.S. Pretrial Services Off`lcer
MM Place Memphis, TN
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0 U.s. District rudgermgiemte Date July 6, 2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 64 in
case 2:05-CR-20009 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 

Bruce I. Griffey

LAW OFFICES OF BRUCE I. GRIFFEY

142 North Third St.
3rd Floor
l\/lemphis7 TN 38103

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

